Case 2:01-cr-20285-.]DT Document 195 Filed 06/30/05 Page 1 of 2 Page|D 210

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE

EASTERN DIVISION
UNITED STATES OF AMERJCA
vs. Criminal No. 2101-20285-02-T
JOSEPH YOUNG

JUDGMENT ON SUPERVISED RELEASE VIOLATION

This cause came to be heard on June 24, 2005 , Assistant U. S. Attorney, Jerry
Kitchen, representing the government, and the defendant appeared in person and with
counsel, Randall P. Salky, who Was appointed and denies to the allegations set forth in the
Supervised Release Violation Petition. After questioning the defendant, hearing statements of
counsel, the Court finds the defendant guilty as charged in the Supervised Release Violation
Petition.

lT IS THEREFORE ORDERED that the defendant has Violated the terms of his
supervised release and that he be sentenced to the custody of the Bureau of Prisons for a period
of Twenty-four (24) Months With no further supervision

The defendant is remanded to the custody of the United States Marshal.

IT IS SO ORDERED.

AM di - Z}¢M
J D. TODD

ED STA S DISTRICT JU]_)_GE

DATE; 30 y 943-15

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Honorable .l ames Todd
US DISTRICT COURT

